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AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                          for the

                                            SOUTHERN DISTRICT OF FLORIDA

                                                                    )
Joe Giron,                                                          )
                             Plaintiff(s)                           )
                                                                    )
                                   v.                               )    Civil Action No. 25-cv-80138-AMC
                                                                    )
                                                                    )
Consequence Sound LLC,                                              )
                            Defendant(s)                            )

                                                SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)
    Consequence Sound, LLC
    c/o Rick Catinella
    5301 North Federal Highway, Suite 150
    Boca Raton, FL 33487


          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or
60 days if you are the United States, or a United States agency, or an officer or employee of the United
States described in Fed. R. Civ. P. 12 (a)(2) or (3) – you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:
                                        MARIAN V. QUINTERO
                                        SANDERS LAW GROUP
                                   333 Earle Ovington Blvd, Suite 402
                                           Uniondale, NY 11553

       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

                                                             CLERK OF COURT


 Date: ______________________
          Jan 31, 2025                                       ________________________________________
                                                                        Signature of Clerk or Deputy Clerk


                                                                                     s/ K. Pierre
